        Case 1:22-cv-05575-RPK-TAM Document 6 Filed 09/19/22 Page 1 of 1 PageID #: 14

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

NINGBO EASYCLEAN COMMODITY CO., LTD and
                                                                     )
          EASYCLEAN CO., LTD                                         )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 22cv05575
                                                                     )
                  SPLAQUA, INC., AND                                 )
                 DACKERS TRADING, LLC                                )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SPLAQUA INC
                                           THE CORPORATION
                                           1318 55TH STREET, BROOKLYN, NY, UNITED STATES, 11219

                                           DACKERS LLC
                                           THE LLC
                                           5308 13TH AVE STE 472, BROOKLYN, NY, UNITED STATES, 11219
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Gerry Grunsfeld
                                           Lazar Grunsfeld Elnadav LLP
                                           1795 Coney Island Avenue
                                           Brooklyn NY 11230


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                              CLERK OF COURT


Date:    09/19/2022                                                           //s/Priscilla Bowens
                                                                                          Signature of Clerk or Deputy Clerk
